        Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 1 of 9



                                                                          AUG 1 9 2019




   \IS, .

f~ a1"£C1 /YJ '1 D.41-(;
J.,,t,,wP.£.AICE. Hourft,.t);
t1.rA<1.zA/.zJ4 S'vl<tf 1'1 Co, 'Lie,;
dJ ~ PC O ~~ZN 6 c1'£1JtJ~C~S'1 '
 ODES ..1. '7trtJ11 s J,. 10 ;-

                      o~/411 J.livt 1:s *
                                            ::is   case assigned to Distru Judge   M, Uu
                                            and to Magistrate Judge   -J.'!/J.iaQl¥Jipt,,t!!.-----
                   A,
      /, 'thrr 1'&"° 1J- c,·v;L 4t/,rdA.l /A,tltkrJ !Jrb..Nr,s 7'~, ~k. CII~
                                     r
A,v,J </ - f S'- I b- I - /Is J. Ar~,"S Oeut°Jil,Ae "7/te.eJe ~er)' ~-
/141AJr/f '/1,ue,, ,;J4M1eef dekc/4.J.r ,)J Mtf~,µc/nw w1~ &di~~
wl.,7t. dolni IN11he1~ w,fil)J ~ /l'lv/;4°..,rfar1"jtJPcft1>v ~t.ov~~
 vlvj1-t.J    Sir.kl'    Ill 1'ao 'kt'r hi '1 C4-". 11,,v !Alt~e ~ " f l ~
 Sell.r C4fl                           ~vDAtJV/'ef;~ttr~/ f/4/u- ,W
                  /i'e/J41';J ~ur-~41!--
 CJ1;J,h!,. ~P<.r, Ml ir ,{IJmP /rueJ ,!,J 1h. JiUo,- u/',11,,,,tf,,__
 ~ .::r11,",, 11,"r. Jhe, /10,'J-.Jh~ 7l, eod,,,-,e if. ~ ..""f'.r,._._) 1 it
           Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 2 of 9




               /j.
      :l., ~✓i' Cllvl'f/ A~r ✓v,,,rt:1,c-l/o_.4)        ;,,,,Lr   c:A-~fr      ~.rv4.A..J~cAJ

 ~t., tl.tlL   ~      /t-f!'-/UI.";/Isa I JV"/Toke'HiA.J -t,B,r ~-Hw #,-:r
 CvV"f' .u,c4r ''r!J.;VV,m'1J .,f' C'/h~A'f', ~/- M )l,},,fir ~~f-olo
 Ht~ l"-w✓u,t; /A- ~/4r1-/r JyJ>4,.,,,~J-,,c"'/' M~ CMJI,;,,,,-~ ~b<.
6v111ht,/,f ~ ~val/4<;( ~re-l~u ~,/A~,v,~e " / u-tc/~) ~e,;4;,;~ku
 ~ M ~ crM ✓ At2Jt..v.r~ c:)Ve-h ~l,,'-f',r:J ~ ..r~/le,,t-o6 rvl 4d
                                        1




/k rk4ikk ~ ~ ~,,,,v,L ~/f~c/26.A.J fl/fo t:vv;vy; v ~ lo
/AJ11V' ~r~"'          ,4tk, ti>k ~Al, f- ~ //) y y -rtP-/ I 'Z a,,~ ~
                                                             ✓



0,~wv ~ or )T4 J-#. / //z~/W',,


                           e?,Z,,,r,~ / Ui6}w.rf,/"" ,
      -1h1r     tANIAf      S-~        (t)/o/P/~;t t'ulh"'j-AM Jvl<1~uf'/?'k,,1/er-'
 'Jn,,;,,kJ-,,0 tJV-er ~:r ~ h - f4Jdv- ..«;: ,#wrJ,7 ~/h~~'"i'•
l'J,A,,,11#',7/.eo~ (/2 YA-pr...J /} ~ C/~,,J (7#,nld-;J41 &...
~ / d,~11✓, t)e~IJ-                                 1//r/;~fL cfW'"-j
 ( ~ , , .f,uc.
                 1
                     a,,,J,, ;fl~ Pee l,j,,'f/,~   S-VVIUJ', '-d.   1,,,,/1,. .,/,,,,r,,/,tJ- /,✓.J

                                               (1)
                   Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 3 of 9

          '/k ;-# ol.l'ltrA,t~ t>t.l rkM/t~ /?eoW,np ~ ,-:r dMi,e,1~
         W       bAJ~ 1),/' ~          ~ / ~,rJ~. '7Av<f; ~ /?~M:folf' c,,J ~I I
         tle/4el~ ll'!              ~,,~ Pi~f'~, k-;«v;~ dnl~~,'.AJ

         t,,.,I,,,.,,~ q°'1, ;:;,,e,/w,1/I f",<c...,./_ $ '7s; pc). /'h6'1:,t;<;          ~r,m,,.,t-
        ~ /hee7f ~ p;1~~l;J                            o/ Oltz(h)J"A~~
                         C,                  ::fi.c.Nai. /lll~9e.~""1./..r
                                                                V       :::.,


               J.       fW     <7V_7     ol~ ::Zo/.f',      ~       nl"'~{7 k,,.., ~e,/,"o      -J.-
      1,II, ( O,,,,/f'I-~ re✓ ;., l..r   ~~J1:J ✓,/4 ~/7'1 'f Cu-''' lh-i/clr: .,e13/-'A/;,.,
     /,Vdw-411.JC~,       l°/4/,vfflf WAv c),,vlhn~/                 Ae uvV"~Jt,c°o/leA_
    Cw- r~t./'r ;t,v~q,, ~,..,_ o"-e/4d...l' hob?' c,r; _k,-.et,v ~
     /'m C1 ~ ~                          k    t2.// ri> ~ ~ M J /-p,() /1tHt1luer., ~-
    htlJt/a,-lj/ fJl~./,,.>J,#' Iv~ c;/?Aec/4,/~ /?Ate                          eve1"°m~ J,rv,c,e
    ~e/4/irl kwte£/V CE                        /loUf"r,,~./'.

         "'t           #<,,7ke W/lt ~-1--1/4-~, /'klvltr Hht-l-
                Pate #AJ

  9v'4'/,QAJ,1 CMCerN,; /t-<- /Z/,tJ ,::;J, ,1:iM·.,~,r, ;'¼/4,/1'~ ~ d/~-
  p/I~ ,IJ..e;,-1"eAAJ Whl,,,,J, ~ c,7'~A,fl c,,,,.,JA',,~,,/f;t &. ~,,o,
  7-'f.1 ~ fi/~/,,;tc,/.                 fJ ~.~~,;~,,le                          ~f'      de~11:;
 /4,""'J;. ,w /4.,{,li,.,.,..._k E//k a..,~ ,le M><-1.1~ ,,4v" .,t~
 a-, m-7       ''Wk'-,r,-effr'" YfJ bv'( CY_,-y,.,Mf" p{,,,,e, ~M<J ,,;,,., ,/if
If f I (} A1 C, .7J_;.,,,..' ,(?~if. /¼,Alh/tftil ~ ~ ,:6..,,,vl""'tY,_...'1 fi;
fl/1/~t w/"/,!              A-,   cleJi;l ~ - ~ll27 ~c~ #V·                     ft>/JS b7'tf f7"7✓,,
CtN~~ ~lier---Z-, s J' .2 7 .
                                                          (3)
                   Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 4 of 9



               6. /lca,,-d~ .7' d._                  :tt., ,vast- ,...t ~ ~ -... ,.t
                                                  t!o,iJ~
   t;/1.,r /¥<      ,/4,.,...;~M,d/,/ ,/.e,,, /1-,3-2di'6) -1,,,ie,q ,,.,~.
  3rc/..     '7 /      £~ ~If. IA- /k;J,,...,,,,_,t. / Jf 97, /f, :ff ;.,,,1., ;,f'
  u.;I,'/ IJU tJr ~uvf Avyu(jt 2D/ 2olf wA~ /J~twltif'r&~
  ~ C'o/Jf / ;'k Cl,,v,/&d 1//t;.._ f'm,,/1. ~ J. ffal,,(,v, J~-i ~,,.. ~
 c/Vj ~ ~           2,/J I?   l'"r~ r/ ~ c,1/'V"J" /1¥',°[;h              ~wl,;.?'°/7-.J.

 ~         c~ tt1ol /'e.r/ck<: e. ~
            ~, t1rJ     ~
                     ,r'fl/;~'htM..i r'a,,e "/'~ J"~v/C< ~~f',~k-
  /hd,CN p ~ ~ ~fk ~4.J"F~4"'cr> G/4 au#&#..zv~cJlcYLJ ,,
                                         1



  # i't6.J- a- 11/l /h,4',¾TII-P1J/e ~,4v.f" - C ~ e lej~4 wluw )11Jvr,1J1·_
  tr~L dtJw/11 /lt/He"1~ /J' a/k~, ~ e /d" 't- ✓:#e~ 1~> ~ WAl:/-
 ij   ,4,,-,'oJ ,£r /JUckui,~I ~ ~-e,. ·/4..,,,ever; /,),.//~,j,
 /JM eh<f.r b"(.         tWt>,'/..Ile- /;..,_ d'/4./c,   j •PIJR ~IIJ~2w.r v..v/4-- ;d,.,-
C~W p-e ;M~                      ~ wv 4vJ~c-e, /t,//'c:, 1r.rv,eJ f;, V/foy,A.Ji'A..
Jvre'1 Ch,,.,;Ow:J.1~c./ J7J" tvea-Pc/4ei::JOA.J ,@,1t/,,, cltckJo✓ ill,no1'f'
617(1) 'fr _.t:;J       ~ ev~f/ Iv€      :/4 ~'~/ ~ ~kr"/P~~ kAe,_
                                             Cl'4.f~

 t-1-t- -
     '{, · J ·,L
                   ,,>ofrre""-4) .1v,~Av ,Y-/Jt:/.. fi•J
                   /'   L .     ~                        .d
                                                                 +
                                                         Ar/""'r eA.-'
                                                                         A
                                                                                             -:r
                                                                                           1JC
p1     /11 ~;J IVJV                        Jbu />I.J
                        oeN~ft ~ ,1/lr .bee-v ~/4vf1                    /7 le   t,,..,,   Q& •") dl-
rec4- C/M-rl· ~ Vli'-J/';v1a.., cfvr'e1"7 c~~/.:fAJc:1

          I>   P# ~v✓;L,c::27✓ ~11r; ~~14~' MJqvl",J l/d/41~ b'Ak                                ~A)

 ttAI A  flµ-;h>:J M JI-" //;.I ~ L/1/le /4~k'~f~ u,1~,ikv/ff'114<
~c.Jrfo~//~ /-TbO/Jt/rn~/~ ,r/4. ~';b?~~~
/4f'1J'/4?e:e, .. //4e ~d~ ,ec>dl.Jn~ U!'a/4,,~An,~ ~~~

                                                       (-Y)
               Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 5 of 9


   ~o          ~    lut'ak a J ~ ~##] t/el,ck     ~ ~_.11iYl-r ~
   M       lff_~4v,c.        J1~✓- ~toH~tr ~n~ ~r,11~ :' 7k- ~ 1111
   wu 11/lr✓ ~ 1k. ~ , & ,-JcJ~ce - tJp ~,rr:zi u1r                                 1

   /la/4/lr1'~/l~J ~ t i ~ l:r C/41hlf A;,e /4                    H4'-AI   /4:,,   ~v~
  -A,   ti.,   kl/,:;!-:7   ,;tJ /#ed~         /kJI' 1k   c/~J,,,J ()M/'~""'f w,J
  C/4r-eJ ~ fA.JN// ,v>~ re~tAJ k                    ~.1/'AeJJ   ~-1   #- ?'D-/~
  ~ 7-3.1-1~ /lfl                t)IIJ     :fa k ~ 72 )_..,.,.
                                          C#~ ;/ /<}V
  J)'ftte lla,;v-1,t/'{l/J~-//4. /fgkf-PJy Cv /4M>ie ~ ~,t, /lv-
  ~thLur (/'N :/4 ~ c/41~1 J/4)., le 1u,vlel k !)lie /4 ~-
  c«~e tt. t?Wm / J ~
        o, #/ler t/V'l'r        7.2      ~Olh'f /   Ar;,,1} /4 rtx,~,e tJ,~a,J
  Ml     61'{/J/w,.c;e. M1(,       ArJ     cA/'":, 114/M?fNU ~41 k ~
  h((,ve h        /f/       Mo./t.v--/':}""'Mr' b~ ),; t:Y,;,;... t:,,,lcJk_
 ~ / Mfe,.}                 #,,.,~,/1,t {}w/r&..ul- tM~ kifA.r ~
  f?i.t. "1.fM1 f - :J- I         'J '
                            ~ #<_ tu:},q;r ,;l? 'ti I J' be,,e_
  ci,ww ~J 1),i#IA;L C/41~, ~ ~/,;w#,1.f ~#,,,pfs',k) M-
  {JJW(., ffe aw~l ~ r /6MII JUl/' tk/ ~M1(t,cf;;J
  f;J4-e.9 -/4,/er';,tlc ~'j;,r C/111',.,, t,,./LJ le1) / 1 ! ~
 . ~ ;/4/1/.,lt"e lo/7, ut.. 9-:1-1/ /11~#,Pr-,.,,rtJYJ
 ~ fifj~ Ptv P °Ut'JV/' I/ -o~-:iottj //4,.,1,f,f'~-e.J
                  /11$<'co ~~ ~ e~~ //- :l-1~
_ tl- µtJH'~ pf0Jh'1.
 tnel'co /~J~de,J tk- ~dnt,'N,:,,-~ ~ tZvee I I ' ~,:vlle;y,
              Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 6 of 9




                                            '\
                                                 £!rt'f{;ptfie. of/Id,~  I   I




           ~-/h'C- l7o7r'/1 snf ~                         y,(.,, Jth:k/ r/4~     ~,...,ww._

 {!o/4 j, /~,j    {U C<tp/lJ,,e   tJ,,,/ <,,+Jaw.ft:,~.._,1/e ~ ~(£/J,7/rt_, 6,.H, - ,
 /1 e Sf   ,D2.uh~✓    1{    ,/e,£-4,J;r ,9A.IJ'hi(;r/R.. yk J,./,, f j,,,,rfo-" vr' ~...~ 5 '
wk'fier        h,JF111e .r~ (o,,.,,... eree c>-r ~ , Y-1- /5' 11.. t//,,/t.~ ✓/le..
I/,:;:;,''
~
              :,-4, &y,-e ,':.J
       ee, ,,~ ll/J'/A~..i
                                        ~ /4-e, /1''; kJ!!:), ,rt>"ec"//,P'< &rr or
                                     lt:J.,mmerc-e-/        ,/___ /I_
                              /                          ;y"" ~ .

                                   '--'--
                                      cSeCbN fl~ J ~                ~I



       Ji)' /Jl'le,a.vl, cf (4A.Ji-R.tJf /s a_ d~d' (A;,/tJiiJ,"'11:1-1'/lrl~'lJ'
J/44_ ;Uw tMJchr ';4,ekr u~ 1/-5f-/t1 I,              .

                              L~    YhtYI- t~ J ~ON,.
             I/, C.ivi J._, ffl.&vcR-.    ; v,,., c:lu' 1/,tl(AJr,w ./4,v,J ~ ~,.,;f,',1
,j.,a,/,k jij'-r Clv/f.     .;.i.v,,R 6'ld/or p/ec,r:'/ J,,)k,,,J ,;;ie(J) /N4,.l!u .._ ,OJ'€.
/-e;,t"JVAI ,6.V, 2w; (3) /411N✓ ~ ~.rP_,/d,1,,0 1J' fthe ,,.,~k.r ,;.,.
svti''tt'e,..,J,- 6,.JIJ' ·o) ,£.,~ ~ /4._ J?biuV ,Ai /'<./., WI ~ ,,('Ir~
                        J                     •                t7
 f"e~J'W :,b./,IW;· L't} lt<- 1%.,1.1./r//,;w/1/4. I(I Mir ,,:.,. rel- c-e,i ,;.,,,J.
 {6)~ //ii_lW'/,,tf /~ /P(>'IA/~ Atf ti. fiJLJ/Y,                  '·
                                                                                    .I

                               i+if/rlli Cavit I Ml'IJIJ It
        Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 7 of 9


 did Mwl. fi4 u ol,J/le.-. 'Jk, 1/l&d. ✓~,r-e J,;~,r .1,-d ~
/Iii.I' pt',Jv;Ji'f' ,:.v~7 • £k/4.lt.4J tlGJ4<Wf J ,;.,cc/,",.,.r., ,:,,.,ere,
fk. l',e,~/~ ('g.,;/e -" ~ ~/'l'fJe ;lo/'~-~ de -
-k,;0,1;.f j:;,e,,.,, or~ I / J.evve J!;,,,..,AJ ~ >'ie;e ~ s !A;/o9-
Arwe ~,1 1#<1-...,.,~.J- ';1,is /fli;,.1#1/' , f e , ~&Jh,;,1. 6;,,,I-
. ~"je✓       dv1t A,. ~ f r 1//d/u'hlM.lf' •


         E.




                                  (i)
                               /21bif-Arkansas Chiropractic Group
                                                                 A
                Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 8 of 9



                                           4196 E McCain Blvd
                                     North Little Rock, AR 72117-2523
                                               (501) 850-8400

                                                 March 4, 2019


      Theodore Thompson
      400 W. 4th St. Apt B102
      NLR, AR 72114


      Patient #: 5508
      RE: Theodore Thompson

 Date      Service Descriptions                                          Charge    Receipt     Total
02/21/19   99203 Examination, Comprehensive                              200.00                200.00
02/21/19   A9150 Ortho Gel                                                20.00                220.00
02/21/19   A9270 Ice Pack                                                 20.00                240.00
02/21/19   97014 Muscle Stimulation                                       4'5.00               285.00
02/21/19   9701 O Hot Pack; One Area                                      35.00                320.00
02/21/19   72050 X-ray Cervical 8x1 O 5 views                            500.00                820.00
02/21/19   72100 X-ray Lumbar 14x17 Ap & Lat                             200.00               1020.00
02/21/19   73030 X-ray Shoulder 8x1 O2 views                             200.00               1220.00
02/22/19   98941 CMT; 3-4 Regions                                         97.00               1317.00
02/22/19   97014 Muscle Stimulation                                       45.00               1362.00
02/22/19   9701 O Hot Pack; One Area                                      35.00               1397.00
02/22/19   97012 Traction, Mechanical                                     40.00               1437.00
02/22/19   98943 CMT; Extraspinal                                         31.00               1468.00
02/22/19   9921225 Office visit, Expanded/Update/Fin                      90.00               1558.00
02/22/19   E0190 Orthopedic Pillow, Cervical                              50.00               1608.00
02/22/19   99070 Orthopedic Support, Lumbar                              150.00               1758.00
02/25/19   98941 CMT; 3-4 Regions                                         97.00               1855.00
02/25/19   97014 Muscle Stimulation                                       45.00               1900.00
02/25/19   9701 O Hot Pack; One Area                                      35.00               1935.00
02/25/19   97012 Traction, Mechanical                                     40.00               1975.00
02/25/19   98943 CMT; Extraspinal                                         31.00               2006.00
02/25/19   E0730NU Tens Unit                                             495.00               2501.00
02/25/19   A4595 Electrodes                                               27.50               2528.50
02/25/19   64550 TENS Fitting                                             50.00               2578.50
02/26/19   98941 CMT; 3-4 Regions                                         97.00               2675.50
02/26/19   97014 Muscle Stimulation                                       45.00               2720.50
02/26/19   97010 Hot Pack; One Area                                       35.00               2755.50
02/26/19   97012 Traction, Mechanical                                     40.00               2795.50
02/26/19   98943 CMT; Extrasplnal                                         31.00               2826.50
02/27/19   98941 CMT; 3-4 Regions                                         97.00               2923.50
02/27/19   97014 Muscle Stimulation                                       45.00               2968.50
02/27/19   9701 OHot Pack; One Area                                       35.00               3003.50
02/27/19   97012 Traction, Mechanical                                     40.00               3043.50
02/27/19   98943 CMT; Extraspinal                                         31.00               3074.50
02/28/19   98941 CMT; 3-4 Regions                                         97.00               3171.50
02/28/19   97014 Muscle Stimulation                                       45.00               3216.50
02/28/19   9701 OHot Pack; One Area                                       35.00               3251.50
02/28/19   97012 Traction, Mechanical                                      40.00              3291.50
02/28/19   98943 CMT; Extraspinal                                          31.00              3322.50
02/28/19   9921325 Re - evaluation                                        175.00              3497.50
02/28/19   9711 OTherapeutic Exercises                                     79.00              3576.50
                                                                        $3576.50   $0.00     $3576.50
                                                                  ----A·b~f
                                 Case 4:19-cv-00582-BSM Document 2 Filed 08/19/19 Page 9 of 9


.A  ·               STATE AUTO--
                    Insurance Companies                           C)( '                   f           )
        Represented by: L&P Insurance, LLC 3422 N College Ave Ste 2 Fayetteville, AR 72703-6310 479-250-1550
                                                                                                                   -      0 -==---
                                                                                                                          ()
                                                                                                                          D
        March 05, 2019




                      DORE THOMPSON
                        ST 4TH.ST APT B102
                      .H-LITTLE·ROCK
                        t, ,.,_. .......
                                         AR 72114-5384




                                AU-0000000-448317
                                02/17/2019
                                Darby Conley



        Dear Sir or Madam:

        We have completed our investigation of the incident in which you were involved with our insured, and we have reviewed
        the facts carefully.

        Based on our investigation, we have found no negligence on our insured.


                                                                                                                   ----
        1 am sure you understand t~at our obligation is to pay only those claims for which our insured is legally liable. Our
        investigation indicates that our insured was not at fault in this case. Therefore, unless you have evidence from a
        disinterested source that would support a contrary decision, we must respectfully decline to pay your claim for damages.

        We wish to advise you that in the event you wish to take additional action to pursue this matter, there is a 3 year statute of
        limitations applicable. That means that if a lawsuit is not filed against our insured within that time period, which begins on
        the date the loss occurred (or in the case of a minor child, begins on his or her 18th birthday), your claim will be barred by
        the statute of limitations.

        If you have any questions, please call me.

        Sincereiy,

        MATIHEW COUTS             /
        CARE Auto Professional
        PO BOX 182822
        Columbus, OH 43218-2822
        Phone: 6149174347
        Fax:   614-827-2099
        Email: Matthew.Couts@StateAuto.com




~
I
        Page 1 of 1
        XCC202 (05/15)
                Corporate Headquarters           I   518 East Broad Street Columbus, Ohio 43215                I   www.StateAuto.com


-0.60-06219011.ps 155093412 1-1 r.lmt
